        Case 1:23-cv-01198-CJN Document 23-2 Filed 08/28/23 Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  HERITAGE FOUNDATION, et. al,

            Plaintiffs,

  v.
                                                              Civil Action No. 23-1198 (CJN)
  DEPARTMENT OF HOMELAND
  SECURITY

            Defendant.


  DEFENDANT’S LOCAL RULE 7(H) STATEMENT OF MATERIAL FACTS AS TO
                WHICH THERE IS NO GENUINE DISPUTE

       1.        On March 8, 2023, Plaintiffs the Heritage Foundation and Mike Howell submitted

a Freedom of Information Act (“FOIA”) request to the U.S. Department of Homeland Security

(“the Department”) for various records regarding Prince Harry’s status in the United States. See

Pl. Request (ECF No. 7-2).

       2.        The request sought three categories of records: (1) all records within Prince Harry’s

Alien Registration file, including but not limited to any applications for immigration benefits, and

any Forms I-213, I-275, and I-877, (2) all records pertaining to Prince Harry within twelve different

databases, and (3) “all records relating to any requests for waiver by Prince Harry pursuant to

Section 212(d)(3) of the Immigration and Nationality Act.” Pl. Request (ECF No. 7-2).

       3.        Plaintiffs’ request did not include any documents showing that Prince Harry had

authorized release of this information to Plaintiffs. Ex. 1, Panter Decl. ¶ 20; Ex. 2, Suzuki Decl.

¶ 9; Ex. 3, Pavlik-Keenan Decl. ¶ 13

       4.        The Department’s Privacy Office reviewed the request and determined that

Department components U.S. Citizenship and Immigration Services (“USCIS”), U.S. Customs and
        Case 1:23-cv-01198-CJN Document 23-2 Filed 08/28/23 Page 2 of 4




Border Protection (“CBP”), and the Office of Biometric Identity Management (“Biometric Identity

Office”) were the only components that would have custody of any records that were responsive

to parts 1 and 2 of Plaintiffs’ request. Ex. 3, Pavlik-Keenan Decl. ¶¶ 10, 12.

       5.      The Privacy Office then forwarded the request to USCIS, CBP, and the Biometric

Identity Office and notified Plaintiffs of the referral. Ex. 3, Pavlik-Keenan Decl. ¶ 10.

       6.      USCIS determined that it had records responsive to part 1 of Plaintiffs’ request and

that those records would be in Person Centric Identity Services (“PCIS”) and Person Centric Query

System (“PCQS”). Ex. 1, Panter Decl. ¶ 14.

       7.      PCIS is an application that allows a search through a repository of identity

information that includes biographical and biometric information on immigration history and

status. Ex. 1, Panter Decl. ¶ 14.

       8.      PCQS is a USCIS system that allows a single query for all transactions maintained

by Department of Homeland Security, the Justice Department, and the State Department systems

and includes biographic and biometric information. Ex. 1, Panter Decl. ¶ 14

       9.      USCIS located the responsive records, reviewed them, and determined that all of

the responsive records are categorically exempt from disclosure pursuant to FOIA Exemption 6

and in part based on Exemptions (b)(7)(C) and (b)(7)(E). Ex. 1, Panter Decl. ¶¶ 15-16.

       10.     Part 2 of Plaintiffs’ request sought records regarding Prince Harry in twelve

different databases. Pl’s Request (ECF No. 7-2).

       11.     Any records in the IDENT system would have been in the Biometric Identity

Office’s custody. Ex. 3, Pavlik-Keenan Decl. ¶ 17.




                                                 2
         Case 1:23-cv-01198-CJN Document 23-2 Filed 08/28/23 Page 3 of 4




        12.    Any records in the other databases listed in part 2 of the request would have been

CBP records. Ex. 3, Pavlik-Keenan Decl. ¶ 12; Ex. 1, Panter Decl. ¶ 14 n. 1; Ex. 2, Suzuki Decl.

¶ 31.

        13.    CBP searched its TECS system for entry and exit records regarding Prince Harry

using the names and date of birth submitted by the requester as well as passport numbers found

during the search. Ex. 2, Suzuki Decl. ¶ 14.

        14.    The TECS system includes border crossing information for travelers entering and

exiting the United States. Ex. 2, Suzuki Decl. ¶ 16.

        15.    CBP located Person Encounter Lists and Person Encounter Detail Records

regarding Prince Harry within the TECS system, but is withholding them pursuant to exemptions

6, 7(C) and 7(E). Ex. 2, Suzuki Decl. ¶ 17.

        16.    CBP did not conduct a search for any other records requested in part 2 of Plaintiff’s

request and issued a Glomar response, neither confirming nor denying the existence of those

records because acknowledging the existence of those records would itself cause an unwarranted

invasion of Prince Harry’s personal privacy. Ex. 2, Suzuki Decl. ¶ 18.

        17.    Both USCIS and CBP reviewed the records that they respectively processed and

determined that no segregation of meaningful information in the withheld documents would be

possible without disclosing information that warrants protection under the law. Ex. 1, Panter Decl.

¶ 34; Ex. 2, Suzuki Decl. ¶ 39.

        18.    The Biometric Identity Office issued a Glomar response to Plaintiffs’ request for

records in the IDENT system. Ex. 3, Pavlik-Keenan Decl. ¶ 24.

        19.    With respect to part 3 of the request, namely “all records relating to any requests

for waiver pursuant to Section 212(d)(3) of the Immigration and Nationality Act,” the Department




                                                 3
        Case 1:23-cv-01198-CJN Document 23-2 Filed 08/28/23 Page 4 of 4




and each of the relevant components issued a Glomar response, neither confirming nor denying

the existence of any responsive records. Ex. 1, Panter Decl. ¶ 13; Ex. 2, Suzuki Decl. ¶ 37; Ex. 3,

Pavlik-Keenan Decl. ¶ 25.



Dated: August 28, 2023
       Washington, DC
                                               Respectfully submitted,

                                               MATTHEW M. GRAVES, D.C. Bar #481052
                                               United States Attorney

                                               BRIAN P. HUDAK
                                               Chief, Civil Division

                                               By: John J. Bardo
                                                   JOHN J. BARDO
                                                   D.C. Bar # 1655534
                                                   Assistant United States Attorney
                                                   601 D Street, NW
                                                   Washington, DC 20530
                                                   (202) 870-6770

                                               Attorneys for the United States of America




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